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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO.09-60276-CIV-COHN/SELTZER

 DHL EXPRESS (USA), INC.,
 an Ohio corporation,

        Plaintiff,

 vs.


 EXPRESS SAVE INDUSTRIES INC.,
 a New York corporation, and
 JOHN DOES 1-50,

      Defendants.
 ________________________________/

             ORDER REQUIRING EXPEDITED RESPONSES AND REPLIES

        THIS CAUSE is before the Court sua sponte. The parties have filed cross-motions

 raising the issue of whether a party may depose the opposing party’s Rule 30(b)(6)

 corporate representative where it has already deposed the designated corporate

 representative in his individual capacity. In light of the fast-approaching pre-trial deadlines

 and trial date, it is hereby ORDERED as follows:

        1.      On or before September 25, 2009, Defendant shall file an expedited

 response to Plaintiff’s Motion to Compel Appearance of Defendant Express Save

 Industries, Inc. at Deposition (Fed. R. Civ. P. 30(b)(6)) (DE 48). In its response, Defendant

 shall address why this Court should not follow the decision in Provide Commerce, Inc. v.

 Preferred Commerce, Inc., No. 07-80185 Civ, 2008 WL 360588, at *3 (S.D. Fla. Feb. 8,

 2008). If Plaintiff wishes to file a reply to Defendant’s response, it shall do so on or before

 September 30, 2009.
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         2.    Plaintiff has already briefed the issue (with case citations) raised by the

 parties’ cross-motions. However, if Plaintiff wishes to file a response to Defendant ESI’s

 Motion for a Protective Order (DE 49), it shall do so on or before September 25, 2009. If

 Plaintiff files a response and Defendant wishes to reply thereto, it shall do so on or before

 September 30, 2009.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 17th day of September

 2009.




 Copies to:

 All counsel of record
 and unrepresented parties
